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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

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United States of America,                                 Criminal No. 08-395 (7) (RHK/JJG)

                              Plaintiff,                       AMENDED ORDER

vs.

Lonnie Bernard Rutherford,

                        Defendant.
______________________________________________________________________________

       Defendant’s Motion to Extend Position Pleading to the Presentence Report (Doc. No.

568) is GRANTED. IT IS ORDERED that the Position pleadings are to be filed with the Clerk

of the U.S. District Court and the office of opposing counsel on or before June 1, 2010.

Dated: May 18, 2010
                                                    s/Richard H. Kyle
                                                    RICHARD H. KYLE
                                                    United States District Judge
